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                                                                           UNITED STATES DISTRICT COURT
                    Washington, DC 20005
White & Case LLP




                                               13                         NORTHERN DISTRICT OF CALIFORNIA
                                                                             (SAN FRANCISCO DIVISION)
                                               14
                                               15
                                                    IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
                                               16
                                                    ANTITRUST LITIGATION                                     MDL No. 1917
                                               17
                                               18
                                                    This Document Relates to
                                               19   Case No. 13-cv-01173-SC
                                                                                                     THE TOSHIBA DEFENDANTS’
                                               20
                                                    SHARP ELECTRONICS CORP., et al.,                 SURREPLY IN OPPOSITION TO
                                               21                                                    SHARP’S MOTION FOR LEAVE
                                                                         Plaintiffs,                 TO AMEND
                                               22
                                               23        v.                                          ORAL ARGUMENT REQUESTED
                                               24
                                                    HITACHI, LTD., et al.,                           Date:     May 30, 2014
                                               25                                                    Time:     10:00 a.m.
                                                                         Defendants.                 Before:   Hon. Samuel Conti
                                               26
                                               27
                                               28


                                                                   THE TOSHIBA DEFENDANTS’ SURREPLY IN OPPOSITION TO
                                                                          SHARP’S MOTION FOR LEAVE TO AMEND
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                                                1                                       INTRODUCTION
                                                2        In its reply memorandum, Sharp for the first time urges this Court to reconsider its
                                                3   dismissal with prejudice in light of this Court’s January 28, 2013 Order regarding the
                                                4   arbitration of Costco’s claims. But the January 28, 2013 Order on Costco has no bearing
                                                5   on whether Sharp’s claims belong in Osaka, Japan. The proper forum for Sharp’s claims is
                                                6   determined by the terms of the Sharp/Toshiba BTA, not by the very different terms of the
                                                7   Costco/Toshiba Vendor Agreement. The BTA covers “disputes,” “doubts,” and “unsolved
                                                8   items” between Sharp and Toshiba related to the supply of goods to Sharp, and all of
                                                9   Sharp’s claims here are captured, despite any attempt by Sharp to circumvent the BTA
                                               10   through artful pleading. Furthermore, as a threshold matter, Sharp has no justification for
                                               11   raising its Costco-based arguments now for the first time, instead of earlier in opposing
                                               12   Toshiba’s motion to dismiss.
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                                               13                                          ARGUMENT
                                               14   I.   Sharp Had Both Constructive And Actual Notice Of This Court’s Ruling On
                                                         The Costco Arbitration Agreement And Could Have Raised This Issue Earlier
                                               15
                                                         Sharp’s reply memorandum raises a number of new excuses as to why Sharp failed to
                                               16
                                                    raise its joint-and-several issue when opposing the Toshiba Defendants’ motion to dismiss.
                                               17
                                                    None of these new excuses is valid. As such, Local Rule 7-9 and Ruiz v. GAP, Inc., No.
                                               18
                                                    07-5739 SC, 2009 WL 250481 (N.D. Cal. Feb. 3, 2009) (Conti, J.) — as well as
                                               19
                                                    “substantial justice” (Sharp Reply at 1) — preclude reconsideration of this Court’s March
                                               20
                                                    13, 2014 dismissal with prejudice. This Court should stand by its dismissal with prejudice,
                                               21
                                                    leaving Sharp to pursue its claims in Osaka, Japan.
                                               22
                                                         As its first purported excuse for not raising the joint-and-several issues in a timely
                                               23
                                                    fashion, Sharp represents that “it recently came to [Sharp’s] attention” that “long before the
                                               24
                                                    Sharp Plaintiffs joined this case” a “potentially relevant contrary legal authority” was
                                               25
                                                    decided by this Court and “Toshiba did not remind the Court of this potentially relevant
                                               26
                                                    ruling” when Toshiba moved to dismiss. Sharp Reply at 1. Every element of these
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                                                    representations is misleading, if not demonstrably wrong. In fact, the ruling in question
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                                                                    THE TOSHIBA DEFENDANTS’ SURREPLY IN OPPOSITION TO
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                                                1   (the January 28, 2013 Order regarding the arbitrability of Costco’s claims) was sent to
                                                2   Sharp’s counsel when issued, Sharp’s counsel has been active in this case since long before
                                                3   the January 28, 2013 ruling, that ruling addressed materially different contractual language
                                                4   and, in any event, Toshiba did cite and discuss that ruling in its motion to dismiss Sharp’s
                                                5   complaint. Sharp, in short, has no one to blame except itself for failing to raise the Costco
                                                6   ruling earlier (but that failure is immaterial anyway because the ruling is not determinative
                                                7   here).
                                                8        Sharp’s assertion that the January 28, 2013 Order only “recently” came to its
                                                9   attention is a contrivance because Sharp and its counsel have been active in this litigation
                                               10   for almost two years. Sharp Corporation (the parent company) first appeared in this Court,
                                               11   represented by the firm of Paul Weiss and by the firm of Bingham McCutchen, on June 27,
                                               12   2012 when they filed an application with this Court pursuant to 28 U.S.C. § 1782. Toshiba
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                                               13   Att. 10. In that application, Sharp Corporation explained that it along with certain of its
                                               14   affiliates — including affiliates upon whose purchases Sharp brings claims in this matter
                                               15   — were plaintiffs in litigation filed in Korea that concerned “the same illegal cartel
                                               16   activity” as this litigation.   Id. at 1 (memorandum of points and authorities).       Sharp
                                               17   Corporation explained that it sought discovery that had been produced in this case for use
                                               18   in the Korean lawsuit. Sharp Corporation’s application was signed by its counsel Colin C.
                                               19   West of Bingham McCutchen, with Paul Weiss attorneys as co-counsel.               Id. at 12
                                               20   (memorandum of points and authorities).       On June 27, 2012, Mr. West of Bingham
                                               21   McCutchen and the Paul Weiss lawyers (admitted pro hac vice for Sharp Corporation) also
                                               22   filed a motion to relate the § 1782 petition to this MDL. Toshiba Att. 11. That motion was
                                               23   granted. Toshiba Att. 12.
                                               24        On August 6, 2012, a Settlement Administrator filed a declaration with respect to the
                                               25   direct purchaser plaintiffs’ settlements with respect to the Chunghwa defendants and
                                               26   Philips defendants. Toshiba Att. 13. That declaration indicated that Sharp Electronics
                                               27   Corporation, Sharp Manufacturing Company of America, and Sharp Electronics
                                               28   Manufacturing Company of America had submitted requests to be excluded from the

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                                                1   DPPs’ settlements with Chunghwa and Philips, signifying an intention on the part of these
                                                2   Sharp entities to pursue opt-out claims. Id. at 16.
                                                3        Briefing on our motion to compel arbitration with respect to Costco began on
                                                4   August 24, 2012 (ECF No. 1332), and culminated in the Court’s January 28, 2013 Order
                                                5   Adopting Special Master’s Report and Recommendation Regarding Toshiba Defendants’
                                                6   Motion To Compel Arbitration. Toshiba Att. 14. The Pacer notification of this decision
                                                7   lists Sharp Corporation counsel Colin C. West of Bingham McCutchen, co-counsel with
                                                8   Paul Weiss, as a recipient. Toshiba Att. 15. Then, on March 15, 2013, Sharp (i.e., the
                                                9   Plaintiffs here) filed its original complaint (Toshiba Att. 16), presumably after some sort of
                                               10   pre-filing investigation to ensure that it complied with all pertinent decisions and orders
                                               11   that had been issued in the case, including the Court’s January 28, 2013 Order involving
                                               12   Costco.
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                                               13        On December 13, 2013, the Court issued an Order Granting in Part and Denying in
                                               14   Part the Philips Defendants’ Motion to Compel Arbitration. Toshiba Att. 17 at 11. In that
                                               15   Order, the Court expressly relied upon its January 28, 2013 Order involving Costco. Id.
                                               16   The Pacer notification of this decision lists Sharp counsel Craig Benson of Paul Weiss as a
                                               17   recipient. Toshiba Att. 18. Given these facts, it is indisputable that Sharp and its counsel
                                               18   were on notice of the Court’s January 28, 2013 Order on Costco long before this Court’s
                                               19   March 13, 2014 dismissal with prejudice.         Sharp’s contention that the Costco Order
                                               20   “recently came to our attention” is unsupportable.
                                               21        Sharp’s statement that “Toshiba did not remind the Court of this potentially relevant
                                               22   ruling” (Sharp Reply at 1) is likewise unsupportable. In our October 7, 2013 motion to
                                               23   dismiss, we expressly relied on the Court’s January 28, 2013 Costco Order. On page 9 of
                                               24   our motion, we cited that decision for the proposition that arbitration and forum-selection
                                               25   clauses apply to state antitrust claims. On pages 12 and 13 of our motion, we discussed
                                               26   that decision as support for the proposition that non-signatories can enforce arbitration
                                               27   clauses. If Sharp and its counsel were, contrary to fact, not already on notice of the Costco
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                                                1   order prior to our motion to dismiss, our express citation and discussion of that Order
                                                2   certainly put Sharp and its counsel on notice then, prior to their opposition.
                                                3         In short, it is meritless for Sharp to contend now that it only had notice of the Costco
                                                4   Order after this Court’s March 13, 2014 dismissal with prejudice. Sharp had ample notice
                                                5   of the Costco order and could have tried to make an argument based on it any time prior to
                                                6   this Court’s dismissal with prejudice. As already established, the Toshiba Defendants’
                                                7   motion expressly sought dismissal without qualification, condition, or exception, so it was
                                                8   incumbent upon Sharp to raise any arguments to the contrary. Sharp invokes “substantial
                                                9   justice” as the touchstone here, but in so doing ignores the fact that it has had numerous
                                               10   opportunities to make the arguments now raised in its reply brief. Sharp has no valid
                                               11   excuse for its dilatory actions and its attempt to shift the blame to Toshiba is nothing short
                                               12   of disingenuous.
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                                               13   II.   Sharp’s Proposed Amendment Is Futile, As Confirmed By The Meritlessness of
                                                          Sharp’s New Arguments Raised In Its Reply
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                                                          In any event, the Court’s January 28, 2013 Order concerning Costco is simply not
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                                                    “contrary authority.” By that Order, the Court considered an arbitration clause that covered
                                               16
                                                    “claims and disputes” that “arise out of or relate to these Standard Terms or any agreement
                                               17
                                                    between Vendor and PriceCostco or to their performance or breach (including any text or
                                               18
                                                    statutory claim) . . . .” Toshiba Att. 14 at 3. The Court adopted the Special Master’s
                                               19
                                                    report and recommendation, granting the Toshiba Defendants’ motion to compel arbitration
                                               20
                                                    in part, “with the exception of plaintiff’s claims for co-conspirator or joint and several
                                               21
                                                    liability based on Plaintiff Costco’s purchase of products from defendants other than the
                                               22
                                                    Toshiba Defendants.” Id. at 10. The Court declined to require arbitration for claims based
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                                                    upon co-conspirator or joint-and-several liability because Costco “did not agree to arbitrate
                                               24
                                                    those claims not related to its direct or indirect purchases from the Toshiba Defendants.”
                                               25
                                                    Id. at 5. The Court based this aspect of its ruling on United Steelworkers v. Warrior & Gulf
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                                                    Navigation Co., 363 U.S. 574, 582 (1960), which held that “arbitration is a matter of
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                                                    contract and a party cannot be required to submit to arbitration any dispute which he has
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                                                1   not agreed so to submit.” In so doing, the Court recognized that the scope of an arbitration
                                                2   clause is based on the contract language actually agreed to by the parties.
                                                3        The Court’s January 28, 2013 Order is not “contrary authority” with respect to joint-
                                                4   and-several liability because the language of the Vendor Agreement at issue in the Costco
                                                5   matter differs materially from the language contained in Sharp’s BTA.          Whereas the
                                                6   Vendor Agreement covers “claims and disputes,” the BTA covers “disputes,” “doubts,”
                                                7   and “unsolved items.” As noted in our opposition at page 14, if there is a “doubt” about
                                                8   whether the BTA covers joint-and-several claims, such doubts must be resolved in the first
                                                9   instance by the Osaka District Court. Cf. Moses H. Cone Mem’l Hosp. v. Mercury Const.
                                               10   Corp., 460 U.S. 1, 24-25 (1983) (“any doubts concerning the scope of arbitrable issues
                                               11   should be resolved in favor of arbitration,” including where “the problem at hand is the
                                               12   construction of the contract language itself”). Further, in executing the BTA, the parties
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                                               13   may not have anticipated the possibility of there being a question of joint-and-several
                                               14   liability that might arise in the future. Such an unaddressed issue is an “unsolved item,”
                                               15   one that also must be resolved in the Osaka District Court.
                                               16        Relying upon a single sentence of the International Contract Manual (which it did not
                                               17   discuss in its original motion), Sharp suggests that Article 21.1 of the BTA is simply a type
                                               18   of “good faith” clause that is commonly included in Japanese agreements. Sharp Reply at
                                               19   5. Sharp, however, does not provide a copy of the relevant portion of the International
                                               20   Contract Manual nor does it quote the sentence that immediately follows the sentence it
                                               21   relies on. When read in context, the relevant portion of the International Contract Manual
                                               22   provides as follows:
                                               23                In most agreements in Japan, contracting parties usually include a
                                                                 clause in their agreement that stipulates that, if a dispute should
                                               24
                                                                 arise between them with regard to the rights and duties provided in
                                               25                the contract, the parties will confer in good faith and settle the
                                                                 dispute harmoniously through consultation. Where disputes
                                               26
                                                                 cannot be so settled, the parties of the contract need to select
                                               27                between litigation and arbitration to resolve disputes.
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                                                1   Toshiba Att. 19 (emphasis added). The second, bolded sentence is important because it
                                                2   confirms the interrelationship between the good faith consultations and the litigation or
                                                3   arbitration that occurs if the consultations fails. The matters that are the subject of the good
                                                4   faith consultations are the matters that will go to litigation or arbitration, if necessary. The
                                                5   BTA follows this cascading structure to the letter. Article 21.1 provides that Toshiba and
                                                6   Sharp consult with each other in good faith with respect to (1) “disputes” that arise in
                                                7   relation to the BTA (or Individual Agreements); (2) “doubts” that arise in relation to the
                                                8   BTA (or Individual Agreements); or (3) “unsolved items” in the BTA (or Individual
                                                9   Agreements). Consistent with the Japanese practice described in the International Contract
                                               10   Manual, Article 21.2 then specifies that any litigation will occur in the Osaka District
                                               11   Court. Even Sharp agrees that contracts should be read as a whole. Sharp Reply at 6.
                                               12   When that holistic analysis is done (and given Sharp’s recognition of Japanese practice, as
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                                               13   reflected in the International Contract Manual), it is apparent that Sharp and Toshiba
                                               14   agreed to engage in good faith consultations with respect to a variety of matters between
                                               15   them (both matters specified in the BTA as well as “unsolved” in the BTA) and then,
                                               16   should litigation ensue, such litigation would occur only in the Osaka District Court.
                                               17        Sharp asserts that “Toshiba’s joint and several liability is completely independent of
                                               18   any sales that it made to the Sharp Plaintiffs.” Sharp Reply at 10. How can that be?
                                               19   Sharp’s complaint did not contend that there were two CRT price-fixing conspiracies, one
                                               20   which affected prices paid to Toshiba and another which affected prices it paid to other
                                               21   companies. See Sharp FAC § 1 (“Sharp brings this action to recover damages on account
                                               22   of the antitrust injuries it incurred as a result of a long-running conspiracy by suppliers of
                                               23   cathode ray tubes (‘CRTs’) to coordinate and fix the prices of CRTs and exchange detailed
                                               24   competitive information.”).     In addition, Sharp’s expert calculated damages allegedly
                                               25   caused by a “global CRT conspiracy.”           Expert Report of Jerry A. Hausman, dated
                                               26   April 15, 2014, ¶ 30.    Sharp’s assertion, moreover, ignores the fact that the Toshiba
                                               27   Defendants indisputably did make sales to Sharp and Sharp believes that these sales were
                                               28   made at artificially high prices, facts that Sharp acknowledges again in its motion for leave.

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                                                1   See Sharp Br. at 3 (noting that “the Sharp Plaintiffs were injured when they purchased
                                                2   CRTs manufactured by the defendants”); at 4 (discussing “Toshiba’s own sales to the
                                                3   Sharp Plaintiffs”). Sharp cannot, by the stroke of its pleading pen, disclaim damages from
                                                4   Toshiba sales transactions, while maintaining joint-and-several claims, and thereby avoid
                                                5   the terms of the BTA. Sharp’s disclaimer of damages from Toshiba sales transactions
                                                6   cannot erase the unavoidable fact that Toshiba sold to Sharp. Sharp’s cynical alteration of
                                                7   its damages demand does not negate the parties’ intention, as reflected in the BTA, that
                                                8   where Toshiba sells product to Sharp, their “disputes,” “doubts,” or “unsolved items” shall
                                                9   be litigated in Osaka.
                                               10        Furthermore, Sharp repeatedly asserts that the BTA “governs only relations relating
                                               11   to the supply and manufacture of goods.” Sharp Reply at 4. But CRTs are “goods,” and
                                               12   Sharp’s claims, even if limited to joint-and-several claims, surely relate to the supply and
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                                               13   manufacture of CRTs. They relate to the supply and manufacture of CRTs by alleged co-
                                               14   conspirators and, because Sharp alleges complicity by Toshiba, also relate to the supply
                                               15   and manufacture of CRTs by Toshiba. As long as Sharp is maintaining claims against
                                               16   Toshiba relating to the supply and manufacture of CRTs, the claims are covered by the
                                               17   BTA. (Contrary to Sharp’s suggestion (Sharp Reply at 5), Toshiba does not contend that
                                               18   the BTA applies to all lawsuits “over any subject matter,” but only as to those relating to
                                               19   the sale or manufacture of goods.)
                                               20        In its reply memorandum, Sharp persists in arguing as though Sharp Corporation is a
                                               21   stranger to this action. But the multi-faceted appearance of the firm of Paul Weiss in this
                                               22   action — first as counsel for parent company Sharp Corporation (expressly on behalf of
                                               23   itself and various of its subsidiaries) and then as counsel for the subsidiaries asserting
                                               24   claims against Toshiba — confirms that the Sharp corporate family ought to be considered
                                               25   as a single unit under the direction of Sharp Corporation for purposes of this action.
                                               26   Indeed, Paul Weiss also has represented Sharp Corporation throughout the parallel LCD
                                               27   proceedings, including as counsel on Sharp Corporation’s felony guilty plea, which
                                               28   resolved the LCD criminal exposure of both Sharp Corporation and its LCD-selling

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                                                1   subsidiaries. Sharp (through Paul Weiss) criticizes Toshiba for “pretend[ing]” that Sharp
                                                2   Corporation is a party to this action and that the Plaintiffs are based in Japan. Sharp Reply
                                                3   at 2. In fact, it is Sharp that wishes to “pretend” that Sharp Corporation never appeared in
                                                4   this case, that the Sharp corporate family is not based in Japan, and that the head of that
                                                5   family never committed itself to the terms of the BTA, including the selection of Sharp
                                                6   Corporation’s home town of Osaka as the forum for disputes, doubts, and unsolved items
                                                7   relating to the BTA (and individual agreements associated with the BTA).
                                                8        While Sharp, for the first time in its reply, relies upon Fogode v. ENB Rovocable
                                                9   Trust, 263 F.3d 1274 (11th Cir. 2001), and asserts that the case “resembles” this one (Sharp
                                               10   Reply at 7), in fact Fogode did not even involve a forum-selection clause, the initial
                                               11   dismissal was without prejudice, and the sole issue on appeal relative to forum non
                                               12   conveniens was whether the district court retained jurisdiction after dismissal; the Eleventh
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                                               13   Circuit held that the district court retained jurisdiction because it never set forth judgment
                                               14   on a “separate document” as required under Rule 58 to trigger the time for appeal. Sharp
                                               15   has no valid authority to support its effort to gerrymander its allegations to undo a
                                               16   dismissal with prejudice.
                                               17        At the very end of its reply, Sharp sheepishly addresses its failure to comply with
                                               18   Local Rule 7-9 by stating that “[t]he concerns expressed by the Court in its Order are
                                               19   remediable through the proposed amended complaint, without any need for reconsideration
                                               20   under Local Rule 7-9.” Sharp Reply at 14. Sharp’s attempt to re-write the rules to suit its
                                               21   own shortcomings must be rejected. In our response, we explained that “[a] motion for
                                               22   leave to amend may not act as a substitute for a motion for reconsideration” (Toshiba
                                               23   Response at 7) and, in support of this proposition, we relied upon this Court’s decision in
                                               24   Ruiz v. GAP, Inc., No. 07-5739 SC, 2009 WL 250481 (N.D. Cal. Feb. 3, 2009) (Conti, J.).
                                               25   There, the Court cited Local Rule 7-9(a) in explaining that “Ruiz should have sought leave
                                               26   of the Court to file a motion for reconsideration of the dismissal.” Id. at *3. The Court
                                               27   further explained that “Ruiz’s motion for leave to amend the Complaint to add a claim that
                                               28   was previously dismissed with prejudice is procedurally improper.” Id. Even though Ruiz

                                                                    THE TOSHIBA DEFENDANTS’ SURREPLY IN OPPOSITION TO
                                                                           SHARP’S MOTION FOR LEAVE TO AMEND
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                                                1   was prominently displayed in our response, Sharp chose to ignore it in its reply. All parties
                                                2   are presumed to be familiar with the Local Rules. And adherence to those Local Rules “is
                                                3   not optional.” Beauperthuy v. 24 Hour Fitness USA, Inc., No. 06-00715 SC, 2007 WL
                                                4   3010743, at *4 (N.D. Cal. Oct. 12, 2007) (Conti, J.). Indeed, all counsel admitted pro hac
                                                5   vice in this MDL — including Sharp’s counsel — have committed to follow the Local
                                                6   Rules. Sharp should not be rewarded for its cavalier disregard of those Local Rules.
                                                7                                        CONCLUSION
                                                8        For these reasons and the reasons contained in our response, the Court should deny
                                                9   Sharp’s motion for leave to amend its complaint.
                                               10
                                               11                                                    Respectfully submitted,
                                               12   Dated: April 30, 2014
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                                                                                                     Inc., and Toshiba America Electronic
                                               24                                                    Components, Inc.
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                                                                   THE TOSHIBA DEFENDANTS’ SURREPLY IN OPPOSITION TO
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